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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re:                                             )    Chapter 11
                                                    )
 Daily Gazette Company,                             )    Case No. 18-20028
                                                    )    (Jointly Administered)
                               Debtor. 1            )
                                                    )
 In re:                                             )    Chapter 11
                                                    )
 Daily Gazette Holding Company, LLC,                )    Case No. 18-20029
                                                    )
                               Debtor.              )
                                                    )
 In re:                                             )    Chapter 11
                                                    )
 Charleston Newspapers Holdings, L.P.,              )    Case No. 18-20030
                                                    )
                               Debtor.              )
                                                    )
 In re:                                             )    Chapter 11
                                                    )
 Daily Gazette Publishing Company, LLC,             )    Case No. 18-20032
                                                    )
                               Debtor.              )
                                                    )
 In re:                                             )    Chapter 11
                                                    )
 Charleston Newspapers,                             )    Case No. 18-20033
                                                    )
                               Debtor.              )
                                                    )
 In re:                                             )    Chapter 11
                                                    )
 G-M Properties, Inc,                               )    Case No. 18-20034
                                                    )
                               Debtor.              )
                                                    )




 1
    The last four digits of each Debtor’s taxpayer identification number are as follows: Daily Gazette
 Company (4480); Daily Gazette Holding Company, LLC (2981); Charleston Newspapers Holdings, L.P.
 (3028); Daily Gazette Publishing Company, LLC (3074); Charleston Newspapers (6079); and G-M
 Properties, Inc. (4124).


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                   DEBTORS’ MOTION TO DISMISS CHAPTER 11 CASES

          Daily Gazette Company, and its affiliated debtors and debtors-in-possession (collectively,

 the “Debtors”) in the above-captioned chapter 11 cases, hereby move (this “Motion”), pursuant

 to sections 105(a) and 1112 of title 11 of the United States Code (the “Bankruptcy Code”) and

 Rules 1017 and 2002 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 for the entry of orders dismissing their chapter 11 cases, and in support thereof state as follows:

                                  JURISDICTION AND VENUE

          1.     The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

 and 1334.

          2.     This is a core proceeding under 28 U.S.C. § 157(b), and the Debtors consent to

 entry of a final order by the Court in connection with this Motion to the extent it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

          3.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.     The statutory bases for the relief requested herein are sections 105 and 1112 of the

 Bankruptcy Code and Bankruptcy Rules 1017 and 2002.

                                          BACKGROUND

 A.       Chapter 11 Filings And The Debtors’ Business

          5.     On January 30, 2018 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief with the Court under chapter 11 of the Bankruptcy Code. No trustee, examiner

 or creditors’ committee has been appointed in these cases.

          6.     Prior to the Court-approved sale of their business and assets (as described below),

 the Debtors collectively operated privately owned information and entertainment businesses

 consisting of the flagship newspaper, The Charleston Gazette-Mail, as well as a related website,

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 weekly        publications,    a    saturation   mail   product   and   the   following   verticals:

 www.wvcarfinder.com;               www.wvrealestatefinder.com;     www.wvjobfinder.com;         and

 www.gazettemailclassifieds.com. As of the Petition Date, the Debtors employed, collectively,

 approximately 210 people, approximately 170 of which were full-time employees and 40 of

 which were part-timers.

 B.       Cash Collateral And Debtor-In-Possession Financing

          7.       On the Petition Date, the Debtors filed Debtors’ Motion for Entry of Interim and

 Final Orders (I) Authorizing Debtors to Obtain Postpetition Financing with Priority Over Certain

 Administrative Expenses and Secured by Liens on Property of the Estate Pursuant to 11 U.S.C. §

 364, (II) Authorizing Debtors to Use Cash Collateral and Other Collateral and Granting

 Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363, (III) Modifying the Automatic Stay,

 (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Dkt. #10].

          8.       On February 1, 2018, the Court entered the Interim Order (I) Authorizing Debtors

 to Obtain Postpetition Financing with Priority Over Certain Administrative Expenses and

 Secured by Liens on Property of the Estate Pursuant to 11 U.S.C. § 364, (II) Authorizing Debtors

 to Use Cash Collateral and Other Collateral and Granting Adequate Protection Pursuant to 11

 U.S.C. §§ 361 and 363, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,

 and (V) Granting Related Relief [Dkt. #39].

          9.       On March 12, 2018, the Court entered the Final Order (I) Authorizing Debtors to

 Obtain Postpetition Financing with Priority Over Certain Administrative Expenses and Secured

 by Liens on Property of the Estate Pursuant to 11 U.S.C. § 364, (II) Authorizing Debtors to Use

 Cash Collateral and Other Collateral and Granting Adequate Protection Pursuant to 11 U.S.C. §§

 361 and 363, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)

 Granting Related Relief [Dkt. #140].

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          10.    Pursuant to the final order, the Court found and/or ordered, inter alia, that: (a) the

 Debtors acknowledged and agreed that as of the Petition Date, the principal balance due to the

 Debtors’ secured lender, United Bank, was $15,659,437.09, plus interest, fees, charges and costs

 of collection, including attorneys’ fees (collectively, the “Pre-Petition Indebtedness”); (b) the

 Pre-Petition Indebtedness was secured by all tangible and intangible personal property owned by

 the Debtors and, but for certain undeveloped real estate owned by Daily Gazette Company, all of

 the Debtors’ real property; (c) the Debtors were authorized to use United Bank’s cash collateral

 to sustain post-petition operations pursuant to a budget; (d) United Bank shall have a continuing

 lien and security interest in the Debtors’ post-petition assets; and (e) the Debtors were authorized

 to borrow up to $400,000 from United Bank in the form of debtor-in-possession financing.2

 Throughout the course of the Debtors’ chapter 11 cases, they were able to operate by using cash

 collateral and did not borrow any additional funds from United Bank.

 C.       The Going-Concern Sale

          11.    On the Petition Date, the Debtors filed Debtors’ Motion Pursuant to Sections

 105(a), 363 and 365 of the Bankruptcy Code for: (I) an Order (A) Approving and Authorizing

 Bidding Procedures in Connection with the Sale of Substantially all of the Debtors’ Assets, (B)

 Approving and Authorizing the Break-Up Fee, (C) Scheduling the Related Auction and Hearing

 to Consider Approval of the Sale, (D) Approving Procedures Related to the Assumption and

 Assignment of Certain Executory Contracts and Unexpired Leases, (E) Approving the Form and

 Manner of Notice Thereof, and (F) Granting Related Relief; and (II) An Order (A) Authorizing

 the Sale of Substantially all the Debtors’ Assets Free and Clear of Liens, Claims, Encumbrances,

 and Other Interests, (B) Authorizing and Approving the Debtors’ Performance Under the Asset

 2
   The interim and final cash collateral and financing orders also permitted creditors 45 days from the date
 United Bank filed its proof of claim within which to object to United Bank’s claim or the extent, validity,
 priority or perfection of United Bank’s liens. No such objections were filed.

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 Purchase Agreement, (C) Approving the Assumption and Assignment of Certain of the Debtors’

 Executory Contracts and Unexpired Leases Related Thereto, and (D) Granting Related Relief

 [Dkt. #11].

          12.   On February 7, 2018, the Court entered the Order (A) Approving and Authorizing

 Bidding Procedures in Connection with the Sale of Substantially all the Debtors’ Assets, (B)

 Approving and Authorizing the Break-Up Fee, (C) Scheduling the Related Auction and Hearing

 to Consider Approval of the Sale, (D) Approving Procedures Related to the Assumption and

 Assignment of Certain Executory Contracts and Unexpired Leases, (E) Approving the Form and

 Manner of Notice Thereof, and (F) Granting Related Relief [Dkt. #63].

          13.   On March 8, 2018, the Debtors conducted an auction for the sale of their business

 and assets and HD Media Company, LLC (“HD Media”) was the winning bidder, having

 submitted a bid with a gross purchase price of $11,487,243, which was subject to, among other

 things, a certain post-closing working capital adjustment (the “Working Capital Adjustment”).

 Moreover, in connection with the Working Capital Adjustment, the Debtors were required to

 reserve in escrow $325,000 of the purchase price (the “Working Capital Reserve”) so that funds

 would be available to be repaid to HD Media in the event the Working Capital Adjustment was

 resolved in HD Media’s favor.

          14.   On March 12, 2018, the Court entered the Order (A) Authorizing the Sale of

 Substantially all of the Debtors’ Assets Free and Clear of Liens, Claims, Encumbrances, and

 Other Interests, (B) Authorizing and Approving the Debtors’ Performance Under the Asset

 Purchase Agreement, (C) Approving the Assumption and Assignment of Certain of the Debtors’

 Executory Contracts and Unexpired Leases Related Thereto, and (D) Granting Related Relief

 [Dkt. #141].



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          15.   On March 30, 2018, the Debtors and HD Media’s designee, ETBN Group, LLC

 (“ETBN”), closed the sale of the Debtors’ business and assets (the “Business Sale”). Following

 such closing, in approximately August 2018, the Debtors and ETBN resolved the Working

 Capital Adjustment, which resulted in ETBN’s payment to Debtors of an additional $175,000,

 which funds, along with the Working Capital Reserve, were paid, pursuant to the Court’s

 authorization to disburse net sale proceeds (described below), to United Bank since no additional

 funds were owed back to ETBN. Consequently, the Working Capital Reserve was likewise

 transferred to United Bank since no additional funds were owed back to ETBN. The Business

 Sale disposed of all the Debtors’ assets other than the Timberline Real Estate (defined below).

 D.       Disbursement Authority

          16.   On March 16, 2018, the Debtors filed Debtors’ Motion for Authority to Disburse

 Net Sale Proceeds [Dkt. #152] (the “Disbursement Motion”), pursuant to which the Debtors (a)

 requested the authority to disburse net Business Sale proceeds to United Bank upon closing, and

 (b) informed the Court and parties in interest that, following closing, the Debtors intended to

 wind-down their business and affairs pursuant to a budget attached to the Disbursement Motion

 as Exhibit A (the “Wind-Down Budget”), to be funded by certain Business Sale proceeds that

 United Bank agreed could be used for such purposes.

          17.   On March 30, 2018, the Court granted the Disbursement Motion pursuant to a

 Memorandum Opinion and Order [Dkt. #176].             Accordingly, the Business Sale proceeds

 described in the Disbursement Motion—less the funds necessary for the Wind-Down Budget—

 were paid to United Bank in connection with the Business Sale’s closing.

 E.       The Timberline Sale

          18.   As set forth above, the Sale to ETBN did not include certain unimproved real

 property owned by Daily Gazette Company in Dry Fork District, Tucker County, West Virginia,

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 which is commonly known as Tract No. 38 in Deer Ridge Section of Timberline Sub-Division

 (the “Timberline Real Estate”). United Bank did not have a lien on the Timberline Real Estate.

 Rather, the property was encumbered by a lien in favor of the Pension Benefit Guaranty

 Corporation (“PBGC”) in the amount of $1,627,808.

          19.    On September 20, 2018, the Debtors filed Debtors’ Motion to Approve (A)

 Retention of Auctioneer and (B) Sale of Real Estate [Dkt. #256] (the “Timberline Sale Motion”),

 pursuant to which the Debtors requested authority to retain Greenway’s Real Estate & Auction,

 Inc. (“Greenway’s”) to market and conduct an auction to sell the Timberline Real Estate, and for

 approval to sell the Timberline Real Estate to the winning bidder at auction.

          20.    On December 1, 2018, the Court entered the Order Authorizing Debtors’

 Retention of Auctioneer and Authorizing the Sale of Real Estate [Dkt. #284], pursuant to which

 the Court: (a) authorized the Debtor’s to retain Greenway’s to market and conduct an auction for

 the sale of the Timberline Real Estate; (b) authorized the Debtors’ to compensate Greenway’s for

 its services; (c) authorized the Debtors to transfer title to the Timberline Real Estate to the

 winning bidder at auction free and clear of all liens, claims, encumbrances and interests; (d)

 authorized the Debtors to pay reasonable and necessary costs associated with closing a sale; (e)

 authorized the Debtors to pay net sale proceeds to the PBGC after reserving for all reasonable

 attorneys’ fees and costs incurred in connection with prosecuting the Timberline Sale Motion

 and closing the sale of the Timberline Real Estate.3

          21.    On November 17, 2018, Greenway’s conducted an auction for the sale of the

 Timberline Real Estate and Hayward Phillips Jr. and Jane Phillips were the winning bidders with

 a bid of $37,500 (the “Timberline Sale”).


 3
   Although the Auction Sale Order was not actually entered on the docket until December 1, 2018, the
 Court indicated its intention to enter such order following a hearing on October 11, 2018. See Dkt. #269.

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          22.    On or about February 7, 2019, Daily Gazette Company closed on the sale of the

 Timberline Real Estate. After satisfying Greenway’s fees and costs and other costs attendant to

 closing, the estate received sale proceeds in the amount of $34,728.03, $26,228.03 of which was

 paid to the PBGC and $8,500 of which was retained by the estate as an estimate of the legal fees

 and costs incurred by Daily Gazette Company in pursuing the sale of the Timberline Real Estate.

 As a result of the Timberline Sale and but for the aforementioned $8,500, the Debtors were left

 only with cash subject to United Bank’s security interests and no other assets.

 F.       The Wind-Down

          23.    Following the Business Sale, the Debtors began their wind-down process

 described in the Disbursement Motion. Most notably, to wind-down their business and affairs,

 the Debtors: (a) satisfied all administrative expense claims, including trade debts and employee

 obligations (but excluding professional fee claims not yet approved by the Court); (b) terminated

 or rolled over remaining employee benefits, including the Debtors’ 401(k) plan and medical

 benefits;4 (c) retained accountants to assist with dissolving the Debtors, auditing the Debtors’

 401(k) plan and preparing the Debtors’ 2017 and 2018 tax returns; (d) reconciled and resolved

 the Working Capital Adjustment; (e) disposed of the Timberline Real Estate; and (f) performed

 such other miscellaneous tasks necessary to efficiently and orderly wind-down. All receipts and

 disbursements of the Debtors are accurately reflected in the monthly operating reports filed with

 the Court. As of the date of this Motion, the Debtors have approximately $170,500 of cash on

 hand.




 4
   In connection with the Debtors’ termination and reconciliation of medical benefit claims, the Debtors’
 estates received a refund of approximately $10,500.00.

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 G.        Professional Retention And Fee Applications

           24.     On March 9, 2018, the Court entered the Order Authorizing Debtors to Employ

 and Retain Perkins Coie LLP as Their Bankruptcy Co-Counsel [Dkt. #131]. On June 29, 2018,

 the Court entered an order [Dkt. #226] granting the first interim fee application of Perkins Coie

 LLP (“Perkins”), pursuant to which the Court approved, and Perkins was paid, fees in the

 amount of $219,941.86 and costs in the amount of $20,770.26 (the “Perkins Interim Fees &

 Costs”).5 Contemporaneous herewith, Perkins filed its second and final fee application, pursuant

 to which it requests approval of the Perkins Interim Fees & Costs on a final basis and payment of

 additional fees and costs totaling $72,928.80.

           25.     On March 9, 2018, the Court entered the Order Approving Application to Employ

 Supple Law Office, PLLC as Co-Counsel for the Debtors [Dkt. #130]. On June 29, 2018, the

 Court entered an order [Dkt. #227] granting the first interim fee application of Supple Law

 Office, PLLC (“Supple”), pursuant to which the Court approved, and Supple was paid, fees in

 the amount of $28,530.00 and costs in the amount of $775.08 (the “Supple Interim Fees &

 Costs”).6 Supple has filed its second and final fee application, pursuant to which it requests

 approval of the Supple Interim Fees & Costs on a final basis and payment of additional fees and

 costs totaling $2,640.00.

           26.     On May 29, 2018, the Court entered the Order Authorizing Debtors to Retain and

 Employ Brown Edwards & Company, L.L.P. as Accountants [Dkt. #208]. On July 7, 2018, the

 Court entered the Order Authorizing the Expansion of the Scope of the Debtors’ Retention of

 Brown Edwards & Company, L.L.P. as Accountants [Dkt. #230]. Contemporaneous herewith,



 5
     $29,712.12 of the Perkins Interim Fees & Costs was paid from a pre-petition retainer held by Perkins.
 6
     $25,000 of the Supple Interim Fees & Costs was paid from a pre-petition retainer held by Supple.

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 the Debtors have filed the first and final fee application of Brown Edwards & Company, L.L.P.

 (“BEC”), pursuant to which the Debtors seek authority to compensate BEC $40,357.50.

                                      RELIEF REQUESTED

          27.   By this Motion and for the reasons set forth herein, the Debtors request the entry

 of orders dismissing their respective chapter 11 cases. The Debtors have filed this same Motion

 in each of their underlying chapter 11 cases and will upload separate proposed orders of

 dismissal for entry in each such case. The Debtors further request that the Court refrain from

 entering dismissal orders until after the final fee applications described herein have been

 adjudicated and the Debtors have been permitted sufficient time to pay their professionals,

 satisfy any unpaid U.S. Trustee fees, and remit any additional funds (which will consist of net

 Business Sale proceeds and United Bank’s cash collateral) to United Bank.

                               BASES FOR RELIEF REQUESTED

          28.   Upon the request of a party in interest, section 1112(b)(1) of the Bankruptcy Code

 provides that, absent unusual circumstances, a court “shall” dismiss a chapter 11 bankruptcy case

 (or convert such case to a case under chapter 7) “for cause.” 11 U.S.C. § 1112(b)(1). The

 Bankruptcy Abuse Prevention and Consumer Protection Act of 2005 (“BAPCPA”) changed the

 statutory language with respect to conversion or dismissal from permissive to mandatory. See

 H.R. Rep. No. 109-31(I), at § 442, reprinted in 2005 U.S.C.C.A.N. 88, 94 (stating that the Act

 “mandate[s] that the court convert or dismiss a chapter 11 case, whichever is in the best interests

 of creditors and the estate, if the movant establishes cause, absent unusual circumstances.”); see

 also In re 3 Ram, 343 B.R. 113, 119 (Bankr. E.D. Pa. 2006) (stating that “[u]nder new § 1112

 when cause is found, the court shall dismiss or convert unless special circumstances exist that

 establish that the requested conversion or dismissal is not in the best interests of creditors and the

 estate.”); Inc. In re TCR of Denver, LLC, 338 B.R. 494, 498 (Bankr. D. Colo. 2006) (noting that

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 “Congress has purposefully limited the role of this Court in deciding issues of conversion or

 dismissal, such that this Court has no choice, and no discretion, in that it ‘shall’ dismiss or

 convert a case under Chapter 11 if the elements for ‘cause’ are shown.”). For the reasons that

 follow, the Debtors submit that the Court should dismiss the Debtors’ chapter 11 cases because

 cause exists and dismissal, as opposed to conversion to cases under chapter 7, would be in the

 best interests of the Debtors, their creditors and their estates.

 A.       Cause Exists To Dismiss These Chapter 11 Cases Because The Debtors Have Ceased
          Operations, Disposed Of All Of Their Assets And Have No Assets With Which To
          Confirm A Plan

          29.    Section 1112(b)(4) of the Bankruptcy Code provides a non-exhaustive list of

 sixteen grounds for dismissal. 11 U.S.C. § 1112(B)(4)(A)-(P). However, such a list is “viewed

 as illustrative rather than exhaustive, and the Court should ‘consider other factors as they arise.’”

 In re Gateway Access Solutions, Inc., 374 B.R. 556, 561 (Bankr. M.D. Pa. 2007); see also 3

 Ram, Inc., 343 B.R. at 117 (stating that “[w]hile the enumerated examples of ‘cause’ to convert

 or dismiss a chapter 11 case now listed in § 1112(b)(4) have changed under BAPCPA, the fact

 that they are illustrative, [and] not exhaustive has not”).

          30.    Under section 1112(b)(4), “cause” includes the “substantial or continuing loss to

 or diminution of the estate and the absence of a reasonable likelihood of rehabilitation.” 11

 U.S.C. § 1112(b)(4)(A). Consequently, the dismissal of a chapter 11 case was found justified

 where “a feasible plan is not possible.” 3 Ram, Inc., 343 B.R. at 117-18. Indeed, “[i]f [a]

 chapter 11 [debtor] cannot achieve . . . reorganization within the statutory requirements of the

 Bankruptcy Code, then there is no point in expending estate assets on administrative expenses.

 Id. at 118).

          31.    As detailed above, the Debtors liquidated substantially all their assets in

 connection with the Business Sale and the Timberline Sale and their estates have been left with

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 minimal cash that is subject to United Bank’s security interests. Consequently, since the sales,

 the Debtors’ have existed solely to orderly wind-down their business and effectuate an efficient

 exit from these chapter 11 cases by, among other miscellaneous tasks: (a) satisfying all unpaid

 administrative expense claims against their estates; (b) properly and efficiently terminating

 and/or rolling over their benefit plans for former employees, including a 401(k) plan and medical

 benefits; (c) with the assistance BEC, auditing their 401(k) plan, preparing final tax returns and

 preparing for their dissolution under applicable state law; (d) timely satisfying their monthly

 reporting requirements; and (d) satisfying ongoing U.S. Trustee fees. The Debtors have no

 assets (other than limited cash that constitutes the collateral of United Bank) and there is no

 longer a business to reorganize or assets to distribute and, thus, no reason (or funds available) to

 pursue a plan of reorganization or liquidation. Keeping the Debtors’ cases open will serve no

 purpose at this stage, but rather will only constitute a further drain on the limited cash the

 Debtors currently possess, which, with United Bank’s consent, will be used to pay the only

 remaining administrative expense claims (those of the Debtors’ professionals) and final U.S.

 Trustee fees.

 B.       Dismissal Is In The Best Interests Of The Debtors’ Creditors And Their Estates

          32.    Once it is determined that cause exists to dismiss a debtor’s chapter 11 case,

 courts must then evaluate whether dismissal is in the best interests of the debtor’s creditors and

 the estate. Rollex Corp. v. Associated Materials, Inc. (In re Superior Siding & Window, Inc.), 14

 F.3d 240, 242 (4th Cir. 1994) (noting that “[o]nce ‘cause’ is established, a court is required to

 consider the second question of whether to dismiss or convert.”). Based upon the facts of these

 cases and the status of the Debtors’ estates, dismissal is in the best interests of the Debtors’

 creditors and their estates.



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          33.   Dismissal would be in the best interests of creditors and an estate where a debtor

 has nothing to reorganize. See Royal Trust Bank, N.A. v. Brogdon Inv. Co., Inc. (In re Brogdon

 Inv. Co.), 22 B.R. 546, 548-49 (Bankr. N.D. Ga. 1982) (favoring dismissal because there would

 be “no more going concern that would benefit from reorganization” and there would be “no

 assets remaining in the estate requiring administration.”). As set forth in more detail above, the

 Debtors have nothing left to reorganize because they have sold all their assets, and they have no

 go-forward source of cash from which they could satisfy distributions to unsecured creditors

 pursuant to a chapter 11 plan or upon conversion to chapter 7. Indeed, the only remaining cash

 in the Debtors’ estates is subject to properly perfected security interests and United Bank has

 only consented to the use of such cash to orderly wind-down the Debtors’ business and/or satisfy

 remaining professional fee claims.

          34.   The alternative to dismissal—conversion—is unnecessary and would provide no

 benefit to creditors, but rather it would impose additional administrative costs upon the Debtors’

 estates without any source of funds to satisfy such costs. Indeed, under these circumstances, not

 only would a chapter 7 trustee lack any assets or funds to distribute to creditors, but also a trustee

 would have no funds to satisfy any costs of administration arising after conversion to cases under

 chapter 7 of the Bankruptcy Code. Moreover, the Debtors and their professionals have reviewed

 the Debtors’ pre-petition business transactions, and there does not appear to be any basis to

 pursue any avoidance actions. The Debtors operated and generally paid their respective trade

 obligations in the ordinary course of business prior to the commencement of these cases and

 further, no party-in-interest has alleged that the Debtors made any preferential or fraudulent

 transfers during the months leading up to the Petition Date.




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          35.    Accordingly, the dismissal of the Debtors’ chapter 11 cases would be in the best

 interests of creditors and the estates, and certainly would not be prejudicial to any creditors.

                                           CONCLUSION

          36.    For the reasons set forth herein, the Court should enter orders dismissing each of

 the Debtors’ chapter 11 cases.

          WHEREFORE, the Debtors respectfully request the entry of an order in each of their

 respective chapter 11 cases dismissing their cases and providing such other and further relief the

 Court deems just and proper under the circumstances.


 Dated: June 12, 2019                           PERKINS COIE LLP


                                                By:       /s/ Brian A. Audette
                                                          Brian A. Audette (IL Bar No. 6277056)
                                                          (Admitted Pro Hac Vice)
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                                                          Chicago, IL 60603
                                                          Telephone: (312) 324-8534)
                                                          baudette@perkinscoie.com

                                                - and -

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                                                          SUPPLE LAWS OFFICE, PLLC
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                                                Co-Counsel to the Debtors and
                                                Debtors in Possession




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                                 CERTIFICATE OF SERVICE

         Brian A. Audette hereby certifies that on June 12, 2019, a copy of the foregoing Debtors’
 Motion to Dismiss Chapter 11 Cases was filed and served by this Court’s CM/ECF system to all
 parties having registered in this case under the Court’s CM/ECF system.


                                                     /s/ Brian A. Audette




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